              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            CENTRAL DIVISION

RIA SCHUMACHER,                             )
Individually and Behalf of                  )
All Others,                                 )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )      Case No. 16-04078-CV-C-NKL
                                            )
SC DATA CENTER, INC., d/b/a                 )
COLONY BRANDS, INC.,                        )
                                            )
              Defendant.                    )

                              JUDGMENT IN A CIVIL CASE
       ___    Jury Verdict. This action came before the Court for a trial by jury.

       X      Decision by Court. This action came before the Court. The issues have been
              determined and a decision has been made.


       IT IS ORDERED AND ADJUDGED that pursuant to the Order, [Doc. 123], entered by the

Honorable Nanette Laughrey on March 30, 2020, Plaintiff’s motion for fees is denied.




Date: March 31, 2020                        PAIGE WYMORE-WYNN
                                            Clerk of Court

                                            s/ RENEA MATTHES MITRA
                                            By: Renea Matthes Mitra, Courtroom Deputy




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